Case 2:05-cr-20108-SH|\/| Document 10 Filed 07/06/05 Page 1 of 2 _ Page|D 6

UNITED STATES I)ISTRICT CoURT m B* illegi- D.G.
wESTERN DISTRICT 0F TENNESSEE
Western Division 05 JUL '6 P" h lis

UNITED STATES OF AMERICA Ml§§s M’ . _

GF ill MMIS
-vs- Case No. 2:05cr20108-001Ma
ALFRED JAMISON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Crirninal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Mernphis, this :§‘-_-Hf day of July, 2005.

M

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender
Intake

ALFRED JAMISON

Th`ls document entered on the docket sheet in comp||ance

with Flule 55 and/or 32(b) FHCrP on 12 ’/;2'&5 l 0

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 10 in
case 2:05-CR-20108 Was distributed by faX, mail, or direct printing on
July l2, 2005 to the parties listed.

 

 

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FEDERAL PUBLIC DEFENDER
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Honcrable Samuel Mays
US DISTRICT COURT

